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                                                                                                 EXHIBIT




                                                                                                           exhibitsticker.com
From:               Fritz, Maranda
To:                 Miller, Terry
Cc:                 Brent R. Baker; Aaron Lebenta; Jonathan D. Bletzacker; Carlyle, Zachary T.
Subject:            RE: SEC v. Alpine - John Hurry Deposition                                      8
Date:               Friday, March 16, 2018 4:49:08 PM



Terry,

I know that you were concerned that there would be a misunderstanding, and I
apologize for any miscommunication. As I said on the phone, I can confirm that
Alpine does not intend to appear for a deposition of John Hurry because it’s our
understanding that he would have to be – but has not been – served with a
subpoena. I also confirmed in our call that I understand that you intend to
make a motion arguing that your notice was valid, and I expressed my view that
(in order to make the motion) you did not need to go through the hoopla of
having a court reporter present, given that we understand, and you’ve been
advised that the notice of deposition appears not to be valid and that Mr. Hurry
is not appearing pursuant to it.

Have a good weekend.
Maranda

Maranda E. Fritz | Partner | Thompson Hine LLP
335 Madison Avenue | New York, NY 10017
Office: 212.908.3966
Email: maranda.fritz@thompsonhine.com




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value and the top 25 delivering new services that other firms are not.
(The BTI Brand Elite: Client Perceptions of the Best-Branded Law Firms 2014)

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From: Miller, Terry [mailto:millerte@SEC.GOV]
Sent: Friday, March 16, 2018 6:39 PM
To: Fritz, Maranda
Cc: Brent R. Baker; Aaron Lebenta; Jonathan D. Bletzacker; Carlyle, Zachary T.
Subject: Re: SEC v. Alpine - John Hurry Deposition

This is not what we discussed.

Sent from my iPhone

On Mar 16, 2018, at 4:38 PM, Fritz, Maranda <Maranda.Fritz@thompsonhine.com> wrote:

      Terry,

      I can’t assist in terms of efficiency. To my knowledge, your
      deposition notice is not valid. You had stated that you believed the
      notice was appropriate because John Hurry is a director, but you
      then received deposition testimony confirming that he’s not a
      director. You then maintained that Mr. Hurry is subject to notice
      under Rule 37 but that appears not to be correct. You also indicated
      that you’ve tried, but failed, to serve him with a subpoena.

      It’s my understanding, therefore, that there is no valid notice of
      deposition and Alpine does not intend to appear.

      Thanks
      Maranda

      Maranda E. Fritz | Partner | Thompson Hine LLP
      335 Madison Avenue | New York, NY 10017
      Office: 212.908.3966
      Email: maranda.fritz@thompsonhine.com


      <image001.jpg>
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Case 1:17-cv-04179-DLC Document 214-8 Filed 07/11/19 Page 3 of 3


<image002.jpg>


From: Miller, Terry [mailto:millerte@SEC.GOV]
Sent: Friday, March 16, 2018 5:15 PM
To: Fritz, Maranda
Cc: Brent R. Baker; Aaron Lebenta; Jonathan D. Bletzacker; Carlyle, Zachary T.
Subject: SEC v. Alpine - John Hurry Deposition

Hi Maranda, thanks for the call, I know you are busy.

As we discussed, I’m writing to confirm that the SEC plans to go forward with John
Hurry’s deposition on March 20. We have a court reporter set up at the SEC’s SLC office
and can complete Mr. Hurry’s deposition simultaneously with Mr. Jones’s deposition.

Please send us an email with any suggestions you have to make this more efficient.

Thanks,

Terry R. Miller
Trial Counsel, Division of Enforcement
U.S. Securities & Exchange Commission
Denver Regional Office
Byron G. Rogers Federal Building
1961 Stout Street, Suite 1700
Denver, Colorado 80294-1961
Phone: 303-844-1041
Fax: 303-295-0538
millerte@sec.gov
